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                        United States District Court
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                        Central District of California
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11   PACIFIC COLLECTIVE, LLC,                Case № 2:20-CV-03887-ODW (RAOx)
12
                Plaintiff,                   ORDER OF DISMISSAL WITHOUT
13                                           PREJUDICE
14              v.
15
     EXXONMOBIL OIL CORPORATION
16   ET AL.,
17
                Defendants.
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Case 2:20-cv-03887-ODW-RAO Document 16 Filed 04/21/21 Page 2 of 2 Page ID #:226




 1         The Court, having considered the parties’ Joint Stipulation for Dismissal
 2   Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, hereby
 3   dismisses the above-entitled action without prejudice. The Court VACATES all dates
 4   and deadlines. The Clerk of the Court shall close the case.
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 6
           IT IS SO ORDERED.
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           April 21, 2021
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                                  ____________________________________
11                                         OTIS D. WRIGHT, II
12                                 UNITED STATES DISTRICT JUDGE

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